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       In the United States Court of Federal Claims
                                           No. 09-857C

                                     (Filed: December 18, 2009)
                                             __________
 ELECTRONIC DATA SYSTEMS, LLC,

                        Plaintiff,

        v.


 THE UNITED STATES,

                        Defendant,

       and

 BAE SYSTEMS INFORMATION
 TECHNOLOGY INC.,

                        Defendant-Intervenor.
                                          _________

                                             ORDER
                                            __________

       Today, a preliminary conference was held in this case. Participating in the conference
were Richard Conway, for plaintiff, David Hibey, for defendant, and Michael Charness for
defendant-intervenor. Based on discussions during the conference, it was agreed that:

       1.       On or before December 31, 2009, defendant shall file the administrative
                record on a CD-ROM, and shall effectuate service to all parties via
                messenger.

       2.       On or before January 6, 2010, a courtesy copy of the administrative record,
                in paper form, shall be delivered to chambers.

       3.       On or before January 6, 2010, plaintiff shall file its motion to supplement
                the administrative record, if necessary.

       4.       On or before January 14, 2010, plaintiff shall file its motion for judgment
                on the administrative record.
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5.       On or before January 28, 2010, defendant shall file its cross-motion for
         judgment on the administrative record and its response to plaintiff’s
         motion.

6.       On or before February 10, 2010, plaintiff shall file its response to
         defendant’s motion and its reply in support of its motion for judgment on
         the administrative record.

7.       On or before February 24, 2010, defendant shall file its reply in support of
         its cross-motion for judgment on the administrative record.

8.       Oral argument on these motions will be held on March 1, 2010, at 10:00
         a.m. (EST) at the United States Court of Federal Claims, National Courts
         Building, 717 Madison Place, N.W., Washington, D.C. 20005. The
         courtroom location will be posted in the lobby on the day of the oral
         argument.

9.       Defendant shall not be required to file a response to the complaint in this
         matter.

IT IS SO ORDERED.


                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge




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